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  CANDELALIRA JELINKSI, individually and on behalf of all others similarly situated                          TRICOPIAN, INC. DBA FUEL ROD
      E &RXQW\RI 5HVLGHQFHRI)LUVW/LVWHG 3ODLQWLII               San Francisco County                        &RXQW\ RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
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      F      $WWRUQH\V(Firm Name, Address, and Telephone Number)                                               $WWRUQH\V(If Known)
 Nye, Stirling, Hale, Miller, & Sweet, 33 W. Mission St, Ste 201, Santa Barbara, CA 93101;
 805-963-2345

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                         42 U.S.C. §§ 12101 et seq.; Cal. Civ. Code § 51.
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                                  Violations of Title III of the Americans with Disabilities Act of 1990 (42 U.S.C. §§ 12101 et seq.); California’s Unruh Civil Rights Act (Cal. Civ. Code § 51.)

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   ,;    'LYLVLRQDO$VVLJQPHQW,IWKH1DWXUHRI6XLWLVXQGHU 3URSHUW\ 5LJKWV RU3ULVRQHU3HWLWLRQVRUWKH PDWWHULVD 6HFXULWLHV&ODVV$FWLRQOHDYH WKLV
          VHFWLRQ EODQN)RUDOORWKHUFDVHVLGHQWLI\WKHGLYLVLRQDO YHQXHDFFRUGLQJWR&LYLO/RFDO5XOH³WKHFRXQW\ LQZKLFKDVXEVWDQWLDOSDUWRI WKH
          HYHQWVRU RPLVVLRQVZKLFKJLYHULVHWR WKH FODLP RFFXUUHG RULQZKLFKDVXEVWDQWLDOSDUWRI WKH SURSHUW\WKDWLVWKHVXEMHFWRI WKH DFWLRQLVVLWXDWHG´
   'DWHDQG$WWRUQH\6LJQDWXUH 'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
